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                            UNITED STATES DISTRICT COURT
8                          CENTRAL DISTRICT OF CALIFORNIA
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       In the Matter of the Application of       ) No. _
10     LUFTHANSA TECHNIK AG,                     )
       Petitioner, for an Order Pursuant to 28   ) PROPOSED PROTECTIVE ORDER
11     U.S.C. § 1782 to Take Discovery,          )
       Pursuant to the Federal Rules of Civil    )
12     Procedure, of Respondent Thales,          )
       Avionics, Inc., for Use in Foreign        )
13     Proceedings.                              )
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                                                              PROTECTIVE ORDER - 1
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1              WHEREAS the disputes between these parties arise in a highly competitive
2      industry in which constant innovation and research are necessary, that disclosure of
3      material relating to innovation and research could cause decided competitive harm
4      or unfair competitive advantage, and that therefore good cause exists for entry of a
5      protective order regarding confidentiality of trade secret or nonpublic technical,
6      commercial, financial, personal, or business information that is expected to be
7      produced or provided in the course of discovery;
8              WHEREAS the applicant in this action, Lufthansa Technik AG
9      (“Lufthansa”), recognizes that in response to its requests for discovery under 28
10     U.S.C. § 1782, Respondent, Thales Avionics, Inc. (“Thales”), may be required to
11     disclose such confidential or sensitive business information;
12             WHEREAS such sensitive information should be treated as confidential, but
13     not restricted in such a way as would impede Lufthansa’s ability to use the
14     discovered information to aid of the aforementioned German proceeding or
15     Contemplated Proceedings;
16             NOW, THEREFORE, it is hereby ordered as follows:
17     Definitions
18             As used in this Protective Order, the following definitions apply.
19             1.    The terms “Thales” and “Respondent” refer to Thales Avionics, Inc.
20             2.    The terms “Lufthansa” and “Petitioner” refer to Lufthansa Technik
21     AG.
22             3.    The terms “AES” refer to Astronics Advanced Electronic Systems
23     Corp.
24             4.    The term “German Proceedings” refers to Civil Law Proceeding No.
25     7 O 289/10, before the Mannheim Regional Court, and any appeals therefrom.
26             5.    The term “Contemplated Proceedings” refers to contemplated or
27     pending proceedings relating to the rights of Lufthansa arising out of any parts or
28     foreign counterparts of European Patent No. EP 881 145 that have been or are

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1      being considered for filing in Germany, France, Spain, the United Kingdom and/or
2      Japan other than the German Proceedings.
3            6.       The term “Action” refers to Lufthansa’s § 1782 Petition to this Court.
4            7.       The term “Confidential Information” refers to information produced
5      by Thales and designated by Thales as “ATTORNEYS EYES ONLY” under the
6      terms of this Protective Order.
7            8.       The term “Privileged Information” refers to information protected
8      by the attorney-client privilege, the work product doctrine, or any other applicable
9      privilege or immunity.
10     Method of Designating Confidential Information
11           9.       Designation of Confidential Information should be made by stamping,
12     placing, or affixing on the document in a manner which will not interfere with its
13     legibility the phrase “ATTORNEY’S EYES ONLY.”
14           10.      Information should only be designated as Confidential Information
15     when Thales in good faith believes that the information contains trade secrets or
16     nonpublic technical, commercial, financial, personal, or business information.
17           11.      Except for documents produced for inspection at Thales’s facilities or
18     its counsel’s offices, the designation of Confidential Information should be made
19     prior to, or contemporaneously with, the production or disclosure of that
20     information.
21           12.      In the event that documents are produced for inspection at Thales’s
22     facilities or its counsel’s offices, such documents may be produced for inspection
23     before being marked “ATTORNEY’S EYES ONLY.” However, once specific
24     documents have been designated for copying, any documents containing
25     Confidential Information should then be marked “ATTORNEY’S EYES ONLY”
26     before delivery to Lufthansa.
27           13.      To the extent that depositions are taken, Confidential Information
28     disclosed during the deposition may be designated by notice, but only if it is

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1      designated as “ATTORNEY’S EYES ONLY” on the record when the deposition is
2      taken. If a party discovers after the conclusion of a deposition that it has
3      inadvertently failed to designate the deposition testimony as “ATTORNEY’S
4      EYES ONLY,” it may designate the testimony as such by writing to counsel for
5      the opposing parties within thirty (30) days after the conclusion of the deposition.
6      Prior to the expiration of the thirty (30) day period, the parties shall treat the entire
7      deposition testimony, transcript, and exhibits as if they had been designated as
8      “ATTORNEY’S EYES ONLY.”
9      Inadvertent Disclosure of Confidential Information or Privileged Information
10           14.    If Thales discovers after the production of a document that it has
11     inadvertently failed to designate the document as “ATTORNEY’S EYES ONLY,”
12     it may within thirty (30) days after production give written notice to Lufthansa that
13     the document contains confidential material, whereupon (i) the Lufthansa shall, to
14     the extent possible, retrieve all copies of the inadvertently produced document
15     from any person or persons in possession of such copies and return them to Thales;
16     (ii) Thales will simultaneously provide copies of the same document with each
17     page marked “ATTORNEY’S EYES ONLY,” and (iii) thereafter the parties shall
18     treat such document as “ATTORNEY’S EYES ONLY.”
19           15.    If Lufthansa believes that Thales may have inadvertently produced
20     Privileged Information, they shall notify Thales’s counsel of the potential
21     inadvertent production within 5 business days and shall immediately sequester the
22     potentially Privileged Information.
23           16.    Thales’s inadvertent production of Privileged Information shall not
24     constitute a waiver of, and shall not otherwise prejudice any claim that such
25     material or related material is privileged, protected as attorney work product, or is
26     otherwise immune from discovery, provided that Thales notifies Lufthansa in
27     writing promptly after discovery of such inadvertent production. Such
28     inadvertently produced documents and things and all copies thereof shall promptly

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1      be returned to Thales upon request. After a request for the return of the
2      inadvertently produced documents and things is made by Thales, no use shall be
3      made of such documents and things other than to challenge the propriety of the
4      asserted privilege or immunity, nor shall they be shown or disclosed to any person
5      who had not already been given access to them before receipt of the request to
6      return them. No demonstration or proof of error, inadvertence, excusable neglect,
7      or absence of negligence shall be required of Thales in order to avail itself of the
8      protection and provisions of this paragraph.
9      Handling and Disclosure of Confidential Information
10           17.    No person shall disclose any Confidential Information under this
11     Protective Order to any other person, except as follows:
12           17.1. Disclosure may be made to counsel of record in this Action, counsel
13                  in the German Proceedings, or counsel involved in the Contemplated
14                  Proceedings who have signed the “Acknowledgment and Agreement
15                  to Be Bound” (Exhibit A), as well as employees of such counsel to
16                  whom it is reasonably necessary to disclose the information for this
17                  litigation.
18           17.2. Disclosure may be made to in-house counsel of the receiving party—
19                  Dr. Frank Bayer, Olaf Johannsen, and Frank Zirn for Lufthansa—
20                  provided that each individual shall have signed the “Acknowledgment
21                  and Agreement to Be Bound” (Exhibit A).
22           17.3. Disclosure may be made to court reporters engaged for depositions
23                  and those persons, if any, specifically engaged for the limited purpose
24                  of making photocopies of documents. Prior to disclosure to any such
25                  court reporter or person engaged in making photocopies of
26                  documents, such person must agree to be bound by the terms of this
27                  Protective Order.
28           17.4. Disclosure may be made to consultants, investigators, or experts

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1                  (hereinafter referred to collectively as “experts”) who are engaged to
2                  assist in the preparation and trial of the German Proceedings or
3                  Contemplated Proceedings. Any such expert shall not be an employee
4                  of a party. Any such expert shall be identified in writing in a notice
5                  that is received by counsel for the producing party at least five (5)
6                  business days in advance of any disclosure. If, within five (5)
7                  business days after such notice is received, an objection is filed by
8                  Thales in this Court to such disclosure, then no such disclosure shall
9                  be made without further order of this Court. Before disclosure is
10                 made to any expert, he or she shall sign the “Acknowledgment and
11                 Agreement to Be Bound” (Exhibit A) indicating (a) that he or she has
12                 read and understands this Protective Order; and (b) that he or she shall
13                 be bound by the terms of the Protective Order.
14           17.5. Disclosure may be made to deponents and their counsel during
15                 depositions to the extent there are depositions in this Action.
16           17.6. Disclosure may be made to a court in the German Proceedings or
17                 Contemplated Proceedings, provided that the party making the
18                 disclosure shall give the producing party notice at least five (5)
19                 business days in advance of such disclosure. If, within five (5)
20                 business days after such notice is received, the producing party does
21                 not file a motion with this court objecting to the disclosure and
22                 showing good cause as to why the information shall be withheld, then
23                 such disclosure shall be made without further order of this court. If
24                 this Court determines that there is good cause for keeping the
25                 documents or other information sought to be disclosed confidential in
26                 the German Proceedings or Contemplated Proceedings, then the party
27                 seeking to make the disclosure in the German Proceedings or
28                 Contemplated Proceedings may not do so unless it obtains specific

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1                   authorization, in advance, from this Court to do so. In evaluating such
2                   a request, this Court will consider the extent to which additional
3                   protections (beyond those contained herein) are necessary to insure
4                   confidentiality for the documents or other information in the German
5                   Proceedings or Contemplated Proceedings.
6            17.7. Disclosure may be made to this Court, its clerks and staff by filing
7                   Confidential Information (or any substantive reference to it in any
8                   other submission) under seal in the manner consistent with this
9                   Court’s Local Rules for filing documents under seal.
10           17.8. Disclosure may be made to independent litigation support services,
11                  including document reproduction services, computer imaging
12                  services, and demonstrative exhibit services. Prior to disclosure to
13                  any such services, such services must agree to be bound by the
14                  provision of this Protective Order requiring that the documents and
15                  information be held in confidence.
16           18.    Except as provided in Paragraph 18, counsel for the parties (in the
17     German Proceedings, Contemplated Proceedings, and this litigation) must keep all
18     Confidential Information secure within their exclusive possession. Each person to
19     whom Confidential Information is disclosed shall be informed of the terms of this
20     Protective Order and agree to be bound by it before disclosure to such person of
21     any such information.
22           19.    All copies, duplicates, extracts, summaries, or descriptions
23     (hereinafter referred to collectively as “copies”) of Confidential Information or any
24     portion thereof, must be immediately affixed with the word “ATTORNEY’S
25     EYES ONLY” if that word does not already appear.
26           20.    To the extent that any transcripts of depositions, exhibits, or any other
27     papers filed or to be filed with this Court in this litigation reveal or tend to reveal
28     Confidential Information, these papers or any portion thereof must be filed under

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1      seal in accordance with this Court’s procedures for filing under seal.
2            21.    This Protective Order shall be applicable to (i) all Confidential
3      Information, whether produced by Thales or any other party, non-party, or third
4      party, pursuant to deposition notice, requests for production of documents,
5      subpoenas, or other discovery requests, whether formal or informal, in connection
6      with this Action, and (2) all Confidential Information provided by any party in
7      connection with any evidentiary hearings or other proceedings conducted during
8      the course of this Action.
9            22.    Compliance with the terms of this Protective Order shall not be
10     deemed an admission that any documents are admissible in evidence and shall not
11     constitute a waiver of objections concerning further use of the documents.
12     Entering into, agreeing to, and/or complying with the terms of this Protective
13     Order shall not (a) operate as an admission by any party that any document or
14     material designated by any other party as “ATTORNEY’S EYES ONLY” contains
15     or reflects proprietary or other confidential matter, or (b) prejudice in any way the
16     right of any party to seek determination by the Court on notice of whether any
17     particular document or material should be designated “ATTORNEY’S EYES
18     ONLY.”
19           23.    If another court or administrative agency subpoenas or orders
20     production of any discovery materials that a party has obtained under the terms of
21     this Protective Order, such party shall promptly notify the party who produced the
22     materials of the pendency of such subpoenas or order, and shall allow the party
23     who produced the materials a reasonable period of time to oppose or quash the
24     subpoena or order before providing the materials to the person or entity seeking
25     them. Compliance with any subpoena or order shall not be deemed a violation of
26     this Protective Order absent the entry, in advance of the response date for the
27     subpoena or order, of a supplemental protective order barring disclosure of the
28     information, and communication of such an order to counsel for the person or

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1      entity under subpoena or order.
2      Destruction or Return of Confidential Information
3            24.    Within thirty (30) days of the conclusion of the last of the German
4      Proceedings and Contemplated Proceedings, including any and all appeals, all
5      Confidential Information not received in evidence must be returned to thales, or
6      certified to have been destroyed. The certification shall be filed with the Court by
7      the receiving party’s counsel of record in this Action.
8      Miscellaneous Provisions
9            25.    A designation of “ATTORNEY’S EYES ONLY” may be challenged
10     by Lufthansa. If a challenge is made, Thales bears the burden of showing that the
11     designation is appropriate. A party moving to modify this Protective Order to
12     provide for greater restrictions on disclosure must show that such a modification is
13     necessary to protect the movant’s interests.
14           26.    In the event that any Confidential Information is submitted as
15     evidence in the German Proceedings or Contemplated Proceedings, access will be
16     limited to those persons identified in Paragraph 18.
17           27.    This Court shall retain jurisdiction of this matter for the purpose of
18     enforcing and/or modifying, altering, and/or amending the scope of this Protective
19     Order, which shall continue to be binding after the conclusion of this Action.
20           28.    Lufthansa shall assure compliance with this Protective Order by its
21     representatives and Lufthansa shall be responsible for any violation of this
22     Protective Order by its counsel. The parties reserve the right to seek any and all
23     remedies available under applicable law in the event of a violation of this
24     Protective Order.
25
26     Entered this ____ day of ________________, 2019.
27                                            ____________________________________
                                              _
28                                            United States District Court Judge

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                            UNITED STATES DISTRICT COURT
1                          CENTRAL DISTRICT OF CALIFORNIA
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       In the Matter of the Application of        ) No.
3      LUFTHANSA TECHNIK AG,                      ) ______________________________
       Petitioner, for an Order Pursuant to 28    )
4      U.S.C. § 1782 to Take Discovery,           )
       Pursuant to the Federal Rules of Civil     )
5      Procedure, of Respondent Thales            )
       Avionics, Inc., for Use in Foreign         )
6      Proceedings.                               )
                                                  )
7
8                           CONFIDENTIALITY STATEMENT
9            UNDERTAKING OF
10     _________________________________________________
11     STATE OF                           )
                                          ) ss.
12     COUNTY OF                          )
13
14           I, ____________________________, being duly sworn, state that:
15           My address is _______________________________________________.
16           My present employer is
17     ________________________________________________________________.
18           My present occupation or job description is
19     ________________________________________________________________.
20           I have received a copy of the protective order in this case signed by district
21     judge ___________________ on ______________________.
22           I have carefully read and understand the provisions of the protective order.
23           I will comply with all of the provisions of the protective order.
24           I will hold in confidence, and not disclose to anyone not qualified under the
25     protective order, any Confidential Information or information derived therefrom,
26     including words substance summaries, abstracts or indices of Confidential
27     Information disclosed to me.
28           I shall return all materials containing Confidential Information and

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1      summaries, abstracts, and indices thereof, and copies thereof, which come into my
2      possession, and document or things which I have prepared relating thereto, to
3      counsel for the party by whom I am employed, retained, or otherwise designated as
4      a qualified person.
5            I hereby submit to the jurisdiction of this court for the purpose of
6      enforcement of the protective order in this case.
7      Dated:       ________________
                                               _________________________________
8                                                           Signature
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                                                                     PROTECTIVE ORDER - 11
